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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


                                         x
ROYAL PARK INVESTMENTS SA/NV,            :   Civil Action No. 14-cv-02590-VM
Individually and on Behalf of All Others :
Similarly Situated,                      :   CLASS ACTION
                                         :
                              Plaintiff, :   PLAINTIFF ROYAL PARK INVESTMENTS
                                         :   SA/NV’S MEMORANDUM OF LAW IN
       vs.                               :   SUPPORT OF ITS MOTION FOR CLASS
                                         :   CERTIFICATION AND APPOINTMENT OF
U.S. BANK NATIONAL ASSOCIATION, as :         CLASS REPRESENTATIVE AND CLASS
Trustee,                                 :   COUNSEL
                                         :
                              Defendant.
                                         :
                                         x




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        Pursuant to Federal Rule of Civil Procedure 23 (“Rule 23”), plaintiff Royal Park Investments

SA/NV (“plaintiff” or “Royal Park”) respectfully moves the Court to certify this action as a class

action and to certify the following Class:

        All persons and entities who held Certificates in the Covered Trusts and were
        damaged as a result of U.S. Bank National Association’s conduct alleged in the
        Complaint. Excluded from the class are defendant, the loan originators, the
        Warrantors, the Master Servicers and the Servicers to the Covered Trusts, and their
        officers and directors, their legal representatives, successors or assigns, and any
        entity in which they have or had a controlling interest.1

In addition, plaintiff moves the Court for an order appointing plaintiff as Class Representative and to

appoint Robbins Geller Rudman & Dowd LLP (“Robbins Geller”) as Class Counsel.

I.      PRELIMINARY STATEMENT

        Plaintiff’s two causes of action – breach of contract and breach of trust – are ideally suited

for class certification pursuant to Rule 23. Courts in the Second Circuit recognize that cases alleging

breach of contract and trust are readily amenable to class certification and resolution.2 This case is

no different. Defendant U.S. Bank National Association (“U.S. Bank”), as trustee for the Covered


1
        The “Covered Trusts” are the residential mortgage-backed securities (“RMBS”) identified in
Appendix A, attached hereto; see also Class Action and Verified Derivative Complaint for Breach of
the Trust Indenture Act, Breach of Contract, and Breach of Trust (“Complaint”), Dkt. No. 2, ¶2. All
“¶” or “¶¶” references and defined terms contained herein refer to the Complaint unless otherwise
noted.
2
        See, e.g., In re U.S. Foodservice Inc. Pricing Litig., 729 F.3d 108, 112, 123-27 (2d Cir.
2013), cert. denied, __ U.S. __, 134 S. Ct. 1938 (2014) (holding that “the district court correctly
concluded that [the] . . . contract claims [were] susceptible to generalized proof such that common
issues [would] predominate over individual issues and [that] a class action [was] superior,” even
where the various underlying contracts were not uniform); Seekamp v. It’s Huge, Inc., No. 1:09-CV-
00018 (LEK/DRH), 2012 U.S. Dist. LEXIS 33295, at *39 (N.D.N.Y. Mar. 13, 2012) (certifying
breach of contract class and noting that “[a]ctions that involve form or uniform contracts have been
recognized as being well-suited for treatment as a class action”); Fleisher v. Phoenix Life Ins. Co.,
No. 11 Civ. 8405(CM), 2013 U.S. Dist. LEXIS 99959, at *28 (S.D.N.Y. July 12, 2013) (“Breach of
contract cases are particularly appropriate for class certification.”); Bd. of Trs. of the AFTRA Ret.
Fund v. JPMorgan Chase Bank, N.A, 269 F.R.D. 340 (S.D.N.Y. 2010) (“AFTRA”) (certifying class
action based on various breach of fiduciary of loyalty claims).

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Trusts, assumed substantially identical duties under the Governing Agreements3 for each of the

Covered Trusts and breached those duties in an identical manner. The evidence adduced to date

demonstrates that the Governing Agreements imposed substantially identical obligations on U.S.

Bank as trustee; that all of the Covered Trusts were administered by a small group of employees

within a single U.S. Bank group; and that a single set of uniform procedures governed U.S. Bank’s

administration of the Covered Trusts.4

        Accordingly, plaintiff’s case presents a single, predominant issue of liability that is common

to all Class members and each of Rule 23’s requirements are met:

        •      Numerosity is satisfied as there are at least 2,460 potential class members in the
               Class.5

        •      Commonality is also satisfied because: (1) each Class member’s claims arise out of
               the same common course of conduct by U.S. Bank; (2) U.S. Bank employed the
               same single set of policies and procedures to administer each of the Covered Trusts;
               (3) U.S. Bank’s role as trustee was fundamentally identical with respect to each of
               the Covered Trusts; (4) U.S. Bank breached substantially identical provisions of each
               of the Governing Agreements for the Covered Trusts; and (5) damages can be
               calculated on a class-wide basis using the methodology set forth in the report of
               plaintiff’s expert, W. Scott Dalrymple, CFA. See Alvarado Decl., Ex. A, ¶¶36-39,
               49-58.

3
       The “Governing Agreements” consist of Pooling and Servicing Agreements (“PSAs”) or
Trust Agreements (“TAs”) and other agreements related thereto, such as the Mortgage Loan
Purchase Agreements and Servicing Agreements. The Governing Agreements outlined U.S. Bank’s
contractual and fiduciary duties as trustee for the Covered Trusts.
4
        The fact that this action includes 21 RMBS trusts is not a bar to certification. Numerous
courts have found that analogous class actions involving multiple RMBS trusts are particularly
appropriate for class treatment. See, e.g., Fort Worth Emps.’ Ret. Fund v. J.P. Morgan Chase & Co.,
301 F.R.D. 116 (S.D.N.Y. 2014) (granting class certification across nine trusts in an RMBS class
action); In re IndyMac Mortg.-Backed Sec. Litig., 286 F.R.D. 226 (S.D.N.Y. 2012) (granting class
certification across ten RMBS trusts); Pub. Emps. Ret. Sys. of Miss. v. Merrill Lynch & Co., 277
F.R.D. 97 (S.D.N.Y. 2011) (granting class certification across 18 RMBS trusts).
5
      See Declaration of Darryl J. Alvarado in Support of Plaintiff Royal Park Investments
SA/NV’s Motion for Class Certification and Appointment of Class Representative and Class
Counsel (“Alvarado Decl.”), Ex. A (Expert Report of W. Scott Dalrymple, CFA), ¶¶40-48.

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        •      Adequacy and typicality are satisfied because: (1) plaintiff and the Class assert
               identical claims that arise from the same alleged course of conduct by U.S. Bank;
               (2) plaintiff is not subject to any unique defenses and shares Class members’ interest
               in maximizing the Class’s recovery; and (3) plaintiff has and will continue to actively
               monitor and supervise this action, has a full understanding of the responsibilities of a
               class representative, and has retained experienced counsel with a proven track record
               in class actions like this one.

        •      Finally, superiority is satisfied because a class action is preferable to any other
               method for adjudicating this controversy, as multiple lawsuits would be costly and
               inefficient and no manageability issues arise from allowing this case to proceed as a
               class action in this forum.

II.     STATEMENT OF FACTS

        This action arises from U.S. Bank’s failure to fulfill its contractual and common law

obligations as trustee for the Covered Trusts, causing damages to plaintiff and the Class.

        A.     U.S. Bank’s Obligations to the Class

        As set forth in the Governing Agreements for the Covered Trusts, U.S. Bank is granted

certain rights that it is obligated to exercise for the benefit of the Class. ¶¶40-43. Specifically, if

U.S. Bank discovers that one of the loans underlying the Covered Trusts (the “Loans”) breaches one

of the representations and warranties (“R&Ws”) made by a “Depositor,” “Loan Sellers/Sponsors,”

and/or an originator or Other Transferor of the Loans (i.e., one of the “Warrantors”) concerning the

Loan’s characteristics, U.S. Bank is required to notify the breaching Warrantor of the violation and,

if the breach is not timely cured, to enforce the breaching Warrantor’s obligation to either substitute

or repurchase the defective Loan. ¶¶47-48.

        In addition to its contractual obligations to enforce R&W claims against the Warrantors, the

Governing Agreements also require U.S. Bank to take steps to protect Class members whenever it

becomes aware of loan servicing failures by the Covered Trusts’ “Master Servicers” or “Servicers”6



6
      For the Covered Trusts, the Master Servicers and Servicers were: Wells Fargo Bank, N.A.;
Bank of America, N.A.; JPMorgan Chase Bank, N.A.; National City Mortgage Co.; Aurora Loan
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amounting to “Events of Default.” ¶¶49, 52-54. An Event of Default occurs whenever a Master

Servicer or Servicer fails to “observe or perform in any material respect any . . . covenants or

agreements of the Master Servicer [or Servicer, as applicable] set forth in [the Governing]

Agreement[s].” ¶51.

        Importantly, the Governing Agreements require U.S. Bank to act promptly to protect the

Covered Trusts and the Class once it becomes aware of an Event of Default. ¶52. Upon an Event of

Default, the Governing Agreements require U.S. Bank to: (1) notify and demand that the offending

Master Servicer or Servicer cure the Event of Default and (2) give notice of uncured Events of

Default to the Class. Id. Further, if the offending Master Servicer or Servicer do not timely cure the

Event of Default, the Governing Agreements give U.S. Bank the power to institute legal action,

terminate the offending Master Servicer or Servicer, or take over their servicing duties. Id. U.S.

Bank is also required to notify Certificateholders of any uncured Events of Default so that the

beneficiaries of the Covered Trusts, including members of the Class, can direct U.S. Bank on how to

proceed. Id. The occurrence of an Event of Default also gives rise to a heightened duty requiring

U.S. Bank to act as a fiduciary for Class members, i.e., as a reasonably prudent person would act

with regard to his own property under the circumstances. ¶¶53, 336.

        B.     U.S. Bank’s Breaches of Contract and Duty of Trust

        The Complaint alleges that U.S. Bank discovered and had actual knowledge of R&W

breaches, but failed to act as contractually obligated under the Governing Agreements. See, e.g.,



Services LLC; EMC Mortgage Corporation; Harbourside Mortgage Corporation; HSBC Mortgage
Corporation (USA); American Home Mortgage Corp.; Waterfield; GreenPoint Mortgage Funding,
Inc.; GMAC Mortgage Corporation; Select Portfolio Servicing, Inc.; Countrywide Home Loans
Servicing LP; IndyMac Bank, FSB; SunTrust Mortgage, Inc.; New Century Mortgage Corporation;
Wilshire Credit Corp.; PHH Mortgage Corp.; HomeEq Servicing Corp.; Washington Mutual Bank;
and these entities’ successors. See ¶182.

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¶10. For example, in addition to the litany of news reports, lawsuits, governmental actions, and

congressional testimony publicizing the widespread lending failures by the Warrantors, the

disastrous performance of the Loans and astoundingly-high delinquency rates itself caused U.S.

Bank to have actual knowledge of R&W breaches. See generally ¶¶63-92. Indeed, by January 2009,

most of the Covered Trusts were experiencing default rates ranging from 20% to 62% as well as

significant losses that far exceeded historical losses – in excess of $930 million in losses within a

few short years. ¶91. Moreover, in the following years, additional events revealed pervasive R&W

breaches by many of the Warrantors to the Covered Trusts. See generally ¶¶93-105. By April 2011,

U.S. Bank’s knowledge of R&W breaches was absolute, when the extensive widespread lending

abuses and intentional fraud committed by many of the Warrantors to the Covered Trusts and

continued historically unprecedented default rates for the Loans were revealed. See generally ¶¶106-

152. Despite actual knowledge of rampant R&W breaches, U.S. Bank failed to take the action it was

contractually obligated to take under the Governing Agreements to protect the Covered Trusts and

the Class. ¶180.

        Further, U.S. Bank had also obtained actual knowledge of rampant Events of Default

impacting the Covered Trusts by at least October 2010. See generally ¶¶181-218. Specifically, the

Master Servicers and Servicers by this time were engaged in widespread improper and/or illegal

foreclosure proceedings and other loan servicing misconduct with respect to the Loans – and U.S.

Bank actively participated in the misconduct. Id. In addition, U.S. Bank was also aware that the

Master Servicers and Servicers knew of but failed to report countless Loans underlying the Covered

Trusts that breached the Warrantors’ R&Ws and, as a result, were likely to default. See ¶244. These

Events of Default triggered U.S. Bank’s fiduciary duty to act prudently on Class members’ behalf.

However, U.S. Bank failed to take the requisite actions necessary to protect the Covered Trusts and

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the Class. See ¶¶298-304. Instead, U.S. Bank acted to preserve its long-standing and lucrative

business relationships with the Master Servicers, Servicers, and Warrantors – namely, by ignoring or

assisting in conduct leading to the Events of Default. See ¶305.

        Consequently, thousands of defective Loans that breached R&Ws were not replaced,

repurchased, or cured and rampant Events of Default went unchecked, in violation of the Governing

Agreements’ nearly identical provisions. See, e.g., Alvarado Decl., Ex. A, ¶¶21-24; see also ¶¶180,

245-294, 299. High rates of foreclosure on Loans in the Covered Trusts have substantially driven up

the Covered Trusts’ expenses and losses, and the Class has suffered significant damages as a result

of U.S. Bank’s uniform common failures. See, e.g., ¶¶309-311.

III.    ARGUMENT

        Plaintiff’s allegations present a single, common, predominant question of liability that is

susceptible to common proof – whether U.S. Bank’s common course of conduct breached the

Governing Agreements’ requirements. Indeed, the predominance of common issues of fact and law,

and the impracticability of bringing individual actions to redress U.S. Bank’s wrongful conduct,

renders this case ideally-suited for class certification.

        Pursuant to Rule 23, class certification requires a two-step analysis. First, a plaintiff must

show that all four of the prerequisites of Rule 23(a) are satisfied: (i) numerosity; (ii) commonality;

(iii) typicality; and (iv) adequacy of representation. Fed. R. Civ. P. 23(a); Brown v. Kelly, 609 F.3d

467, 475 (2d Cir. 2010). Second, a plaintiff must demonstrate that the action satisfies at least one of

the subcategories of Rule 23(b). In this action, plaintiff seeks certification under Rule 23(b)(3),

which requires a showing that: (i) common questions of fact and law predominate over any

individual questions; and (ii) a class action is superior to other available methods for adjudicating the




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controversy. Fed. R. Civ. P. 23(b)(3). As further discussed below, each of the Rule 23(a) and

23(b)(3) requirements are met.

        A.     This Case Satisfies the Requirements of Rule 23(a)

               1.      The Class Is Numerous

        Under Rule 23, a class is properly certified where “the class is so numerous that joinder of all

members is impracticable.” Fed. R. Civ. P. 23(a)(1). “Impracticable does not mean impossible;

joinder may merely be difficult or inconvenient, rendering use of a class action the most efficient

method to resolve plaintiffs’ claims.” Fogarazzo v. Lehman Bros., 263 F.R.D. 90, 96 (S.D.N.Y.

2009) (citing Cent. States Se. & Sw. Areas Health & Welfare Fund v. Merck-Medco Managed Care,

L.L.C., 504 F.3d 229, 244-45 (2d Cir. 2007)). The precise quantification or identification of

potential class members is unnecessary at class certification “‘because a court may make common

sense assumptions regarding numerosity.’” In re Vivendi Universal, S.A. Sec. Litig., 242 F.R.D. 76,

83 (S.D.N.Y. 2007).7 In this Circuit, the numerosity requirement is presumptively satisfied where

there are 40 or more class members. See J.P. Morgan, 301 F.R.D. at 131. Importantly, the

numerosity requirement is satisfied even where putative class members purchased across multiple

RMBS offerings. See id. (‘“decisions in this district have concluded that a class may be certified

even where certain sub-groups of that class do not meet the presumptive 40-member requirement’”)

(quoting IndyMac, 286 F.R.D. at 232); Dodona I, LLC v. Goldman, Sachs & Co., 296 F.R.D. 261,

266 (S.D.N.Y. 2014); N.J. Carpenters Health Fund v. Residential Capital, LLC, No. 08 CV 8781

(HB), 2013 U.S. Dist. LEXIS 180913, at *18 (S.D.N.Y. Dec. 27, 2013).




7
        Citations and footnotes are omitted and emphasis is added unless otherwise noted.

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         Employing a conservative method of counting investors, plaintiff’s expert has determined

that there are at least 2,460 potential Class members in the Covered Trusts. Alvarado Decl., Ex. A,

¶¶40-48. Accordingly, the proposed Class clearly satisfies the numerosity requirement.

         Further, investors in the Covered Trusts are geographically dispersed institutions and

individuals with a wide range of investment amounts, from less than $10,000 to tens of millions of

dollars. Id., ¶48; see also Robidoux v. Celani, 987 F.2d 931, 936 (2d Cir. 1993) (“Relevant

considerations include judicial economy arising from the avoidance of a multiplicity of actions [and]

geographic dispersion of class members . . . .”). The joinder of these investors would be impractical.

See, e.g., Merrill Lynch, 277 F.R.D. at 105 (recognizing that joinder or individual adjudication of

even 100 sophisticated investors’ claims would be impractical).

                2.      There Are Questions of Law and Fact Common to the Class

         The “commonality” requirement prescribes that a plaintiff show “questions of law or fact

common to the class.” Fed. R. Civ. P. 23(a)(2). This requirement is construed liberally and courts

demand only that the plaintiff’s and class members’ claims “share a common question of law or of

fact.” Marisol A. by Forbes v. Giuliani, 126 F.3d 372, 376 (2d Cir. 1997). As this Court has

recognized, the “commonality” requirement is a “low hurdle.” Dodona I, 296 F.R.D. at 267.

Indeed, the Supreme Court held that “‘[e]ven a single [common] question’ will do.” Wal-Mart

Stores, Inc. v. Dukes, 564 U.S. 338, 359 (2011). A question is common if its answer will resolve an

issue relevant to the claims on a class-wide basis “in one stroke” (id. at 350), regardless of whether it

will “overshadow potential individual issues.” In re U.S. Foodservice Inc. Pricing Litig., No. 3:07-

MD-1894 (CFD), 2011 WL 6013551, at *4 (D. Conn. Nov. 29, 2011), aff’d, 729 F.3d 108 (2d Cir.

2013).




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        In this Circuit, courts routinely find that commonality is satisfied in cases where a defendant

has, through a course of common conduct: (a) breached a fiduciary duty it owed to a particular group

of people (see, e.g., AFTRA, 269 F.R.D. at 348); (b) breached an obligation in a form contract (see,

e.g., U.S. Foodservice, 729 F.3d at 123-27; Seekamp, 2012 U.S. Dist. LEXIS 33295, at *11;

Fleisher, 2013 U.S. Dist. LEXIS 99959, at *28); or (c) made a statement in RMBS documents that is

allegedly untrue in light of a common course of conduct (see, e.g., J.P. Morgan, 301 F.R.D. at 116;

IndyMac, 286 F.R.D. at 233-35; Merrill Lynch, 277 F.R.D. at 106).

        Here, the commonality requirement is similarly satisfied in light of the liability issues to be

answered and the evidence obtained to date. Plaintiff alleges that U.S. Bank breached identical or

substantially identical contractual terms to which all Class members were beneficiaries and that such

breaches gave rise to both contractual and common law claims. See, e.g., ¶¶4, 30, 41. The

Governing Agreements for all of the Covered Trusts contain substantially identical terms. See, e.g.,

Alvarado Decl., Ex. A, ¶¶21-24. Moreover, the Complaint alleges, and the evidence adduced to date

confirms, that U.S. Bank engaged in a common course of behavior, undertaken by the same group of

individuals at U.S. Bank using common (yet flawed) policies and procedures. See, e.g., Alvarado

Decl., Ex. B at 79:12-80:4, 185:16-186:18, 189:13-191:27, 201:5-207:5. Thus, each Class member

must answer the same common questions in order to prove her individual claims, including:

        •      Whether U.S. Bank discovered that the Loans breached R&Ws made by the
               Warrantors;

        •      Whether U.S. Bank had knowledge of the Master Servicers’ and Servicers’ Events of
               Default;

        •      Whether U.S. Bank violated its contractual duties by failing to declare Events of
               Default and enforce the R&Ws rights; and

        •      Whether Class members were damaged as a result of U.S. Bank’s conduct and, if so,
               to what extent.


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          Similarly, Class members would also face common questions in order to establish their

individual breach of contract and breach of duty claims. For example, each Class member would

have to answer the following common questions to prove her claims individually:

          •      Whether U.S. Bank owed a duty to Certificateholders to avoid conflicts of interest;

          •      Whether U.S. Bank had actual knowledge of Events of Default;

          •      Whether U.S. Bank failed to act prudently in exercising its rights and power under
                 the Governing Agreements after becoming aware of Events of Default; and

          •      Whether U.S. Bank was conflicted because of its repeated business and lucrative
                 relationship with the Master Servicers and Servicers.

Accordingly, the commonality requirement’s “low hurdle” is easily cleared. Dodona I, 296 F.R.D.

at 267.

                 3.      Plaintiff’s Claims Are Typical of the Class

          Rule 23(a)(3)’s “typicality” requirement is satisfied where a plaintiff’s claims are typical of

the claims of the proposed Class. See Fed. R. Civ. P. 23(a)(3); Vivendi, 242 F.R.D. at 84-85 (“‘[T]he

typicality inquiry focuses on whether the claims of the putative class representatives are typical of

the class sharing common questions.’”). Typicality is satisfied where “‘each class member’s claim

arises from the same course of events and each class member makes similar legal arguments to prove

the defendant’s liability.’” In re Flag Telecom Holdings, Ltd. Sec. Litig., 574 F.3d 29, 35 (2d Cir.

2009). “When it is alleged that the same unlawful conduct was directed at or affected both the

named plaintiff and the class sought to be represented, the typicality requirement is usually met

irrespective of minor variations in the fact patterns underlying individual claims.” Robidoux, 987

F.2d at 936-37; Kottler v. Deutsche Bank AG, No. 05 Civ. 7773 (PAC), 2010 WL 1221809, at *2

(S.D.N.Y. Mar. 29, 2010) (“The focus of the typicality inquiry is not on the plaintiffs’ behavior, but

rather on the defendant’s actions.”); see also Fleisher, 2013 U.S. Dist. LEXIS 99959, at *35; Merrill

Lynch, 277 F.R.D. at 106 (“‘minor variations’” in plaintiff’s claims do not defeat typicality).
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Notably, typicality “‘does not require factual identity between the named plaintiffs and the class

members, only that the disputed issues of law or fact occupy essentially the same degree of centrality

to the named plaintiff’s claim as to that of other members of the proposed class.’” Dodona I, 296

F.R.D. at 267.

        Plaintiff’s claims here indisputably arise from the same course of events as do the other Class

members’ claims. See, e.g., §I.A.2., supra. Uniform practices employed by U.S. Bank that were

applied across all of the Covered Trusts – namely, failure to give notice to the Master Servicers or

Servicers of servicing breaches and failure to enforce R&Ws rights – give rise to plaintiff’s and the

Class’s claims equally. Id.

        Indeed, plaintiff and the Class allege that U.S. Bank breached the same contractual and

common law duties it owed to all Class members under the Governing Agreements for each Covered

Trust. That is, the course of conduct that gives rise to each Class member’s claims is identical – U.S.

Bank repeatedly failed to (i) give notice to each Covered Trust’s Master Servicer or Servicer of its

failure to fulfill its obligations; (ii) declare Events of Default when it knew they had occurred; and

(iii) take any action regarding Loans that breached their R&Ws despite discovering such breaches.

Multiple courts have found the typicality requirement satisfied under similar circumstances. See,

e.g., Policemen’s Annuity and Benefit Fund v. Bank of Am., N.A., No. 1:12-CV-02865-KBF, 2015

U.S. Dist. LEXIS 177151 (S.D.N.Y. Mar. 16, 2015) (approving settlement class of breach of

contract claims against trustee); U.S. Foodservice, 729 F.3d at 125-126 (certifying breach of contract

claim class where underlying contracts varied); Merrill Lynch, 277 F.R.D. at 106-09 (rejecting

defendants’ unique defenses argument against typicality and recognizing that “as a global matter,

Plaintiffs are not required, in proving typicality, to show that the situations of the named

representatives and the class members are identical”).

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        In sum, typicality is satisfied where, as here, “[t]he claims of the class members arise from

the same course of events,” i.e., U.S. Bank’s failure to fulfill its contractual and common law

obligations owed to all Class members. J.P. Morgan, 301 F.R.D. at 132.

               4.      Plaintiff Is Adequate

        The adequacy requirement is also met. “Rule 23(a)(4) requires a showing that the class

representative will fairly and adequately protect the interests of other class members. . . . The

adequacy inquiry overlaps with the typicality inquiry, so that a finding of typicality usually suggests

that the class representative will also satisfy the adequacy requirement.” Wallace v. Intralinks, 302

F.R.D. 310, 316 (S.D.N.Y. 2014). “The adequacy requirement is not demanding.” Id. “‘Generally,

adequacy of representation entails inquiry as to whether: 1) plaintiff’s interests are antagonistic to

the interest of other members of the class and 2) plaintiff’s attorneys are qualified, experienced and

able to conduct the litigation.’” N.J. Carpenters Health Fund v. DLJ Mortg. Capital, Inc., No. 08

Civ. 5653 (PAC), 2014 U.S. Dist. LEXIS 35326, at *18 (S.D.N.Y. Mar. 17, 2014) (“DLJ”).

        There are no antagonistic interests between plaintiff and the Class. Indeed, plaintiff

“‘possess[es] the same interest and suffer[ed] the same injury as the class members.’” Id. Plaintiff

acquired and still holds Certificates in each of the Covered Trusts and was damaged as a result of

U.S. Bank’s failure to comply with its contractual and common law obligations. Likewise, each

Class member also acquired and held Certificates in the Covered Trusts, each was similarly

damaged, and each shares the common goal of maximizing the amount recovered from U.S. Bank.

See Alvarado Decl., Ex. A, ¶¶38-39, 54-56.

        Royal Park is a limited liability company created by the Belgian State, Ageas (formerly

known as Fortis Holding SA/NV), and BNP Paribas for the purpose of acquiring and managing a

portion of Fortis Bank SA/NV’s structured credit portfolio, which included its interests in the


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Certificates at issue here (i.e., the “legacy portfolio”). See ¶¶27-28; see also Alvarado Decl., Ex. C,

¶3. The transfer of the portfolio to Royal Park was accomplished upon the execution of the May 12,

2009 “Portfolio Transfer Agreement,” which effectuated the assignment to Royal Park of all rights,

title, and interest in the Certificates, including any claims held by the initial purchasers against U.S.

Bank in this action. ¶28. In addition, Royal Park acquired RMBS in 2010 that were originally

included within collateralized debt obligations (“CDOs”) as part of the Portfolio Transfer

Agreement. Id. The CDOs were liquidated in 2010 and Royal Park acquired certain of the RMBS

within the CDOs along with all rights, title, and interest in such RMBS. Id.

        Royal Park’s mission is to minimize the downside risk and maximize recoveries on the

legacy portfolio, including the Certificates. See Alvarado Decl., Ex. C, ¶3. Royal Park, like other

members of the Class, suffered damages arising from U.S. Bank’s conduct in failing to enforce

R&W claims against the Warrantors and failing to protect investors in the Covered Trusts from loan

servicing failures of which it was aware. See ¶24. Royal Park’s interests are directly aligned with

those of Class members – to maximize the amount recovered from U.S. Bank for its failure to fulfill

its duties to the Class. See, e.g., Kalkstein v. Collecto, Inc., 304 F.R.D. 114, 121 (E.D.N.Y. 2015)

(no conflict of interest between class members and class representative candidate where interests in

maximizing class recovery aligned).

        Royal Park has taken its role and obligations to the putative Class seriously and has acted to

protect diligently the interests of the Class. At each stage, plaintiff has actively participated in,

supervised, and monitored the litigation. See Alvarado Decl., Ex. C, ¶4 (explaining that Royal Park

“receive[s] regular status reports from Robbins Geller,” “participate[s] in numerous discussions with

counsel concerning strategy and significant developments in this case,” and “has supervised and

monitored, and continues to supervise and monitor, Robbins Geller’s prosecution of this action”).

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Through its experienced counsel, plaintiff has, inter alia, authorized the investigation of the facts and

the filing of the Complaint, successfully litigated this action past the motion to dismiss stage,

pursued discovery from U.S. Bank and numerous third parties, and has responded to substantial

discovery requested by U.S. Bank, including sitting for a Rule 30(b)(6) deposition. See id. In fact,

Royal Park’s discovery efforts have led to the production by U.S. Bank of nearly 34,000 documents

and an additional 92,000 documents from relevant third parties. For its part, Royal Park has already

produced nearly 175,000 documents (totaling over 1.2 million pages) to date. Royal Park has also

certified that it is willing and able to provide further deposition and trial testimony, oversee further

motion practice, and participate in settlement discussions. See Alvarado Decl., Ex. C, ¶5.

        In sum, Royal Park “understands that as class representative, it owes a fiduciary duty to all

members of the class and will seek to obtain the largest recovery for the class.” Id., ¶6. Thus, Royal

Park’s actions along with the common interest it shares with the Class in prosecuting this case to a

successful resolution, fully satisfy Rule 23(a)(4)’s adequacy standard.

        B.      The Requirements of Rule 23(b)(3) Are Also Satisfied

        In addition to meeting the prerequisites of Rule 23(a), this action also satisfies Rule

23(b)(3)’s requirements that common questions of law or fact predominate over individual questions

and that a class action is the superior method to adjudicate this dispute.

                1.      Common Questions of Law and Fact Predominate Under
                        Rule 23(b)

        Rule 23(b)(3) requires that “questions of law or fact common to class members predominate

over any questions affecting only individual members.”             Fed. R. Civ. P. 23(b)(3).       “The

predominance requirement is satisfied ‘if resolution of some of the legal or factual questions that

qualify each class member’s case as a genuine controversy can be achieved through generalized

proof, and if these particular issues are more substantial than the issues subject only to individualized

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proof.’” U.S. Foodservice, 729 F.3d at 118 (quoting UFCW Local 1776 v. Eli Lilly & Co., 620 F.3d

121, 131 (2d Cir. 2010)). This standard “‘does not require a plaintiff to show that there are no

individual issues.’” IndyMac, 286 F.R.D. at 236. Instead, it requires that ‘“a court’s inquiry [be]

directed primarily toward whether the issue of liability is common to members of the class.’” See

J.P. Morgan, 301 F.R.D. at 136 (quoting IndyMac, 286 F.R.D. at 236).

        In order to prevail on its breach of contract claims, the Class must demonstrate ‘“(1) the

existence of a contract, (2) performance of the contract by one party, (3) breach by the other party,

and (4) damages suffered as a result of the breach.’” Royal Park Invs. SA/NV v. HSBC Bank USA,

N.A., 109 F. Supp. 3d 587, 596-97 (S.D.N.Y. 2015). The primary common questions the Class must

address to establish its breach of contract claims will be whether U.S. Bank: (1) failed to enforce

R&W breaches upon discovering them; (2) failed to notify Master Servicers and Servicers of their

failures to fulfill their obligations after learning of Events of Default; (3) failed to declare Events of

Default when it learned of them; (4) failed to act as a reasonable person would to protect its own

assets after learning of Events of Default; and (5) failed to notify investors upon learning of breaches

and Events of Default. With respect to the Class’s breach of trust claims, the predominant question

will be whether U.S. Bank put its own interests ahead of the Class when it failed to take the

necessary actions despite knowing of Events of Default and R&W breaches. All of these questions

will necessarily be answered through common proof.

        Indeed, the existence and scope of U.S. Bank’s contractual duties and obligations to Class

members will be established through common evidence – specifically, the substantially identical

provisions of the Governing Agreements for the Covered Trusts. With respect to these obligations,

the requirements imposed on and conduct expected of U.S. Bank is the same for all of the Covered

Trusts and as to all Class members. U.S. Foodservice, 729 F.3d at 124.

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        In fact, each of the Covered Trusts’ Governing Agreements used substantially identical

language to outline U.S. Bank’s duties to Certificateholders. See, e.g., Alvarado Decl., Ex. A, ¶¶21-

24 & Attachments 1, 2. Thus, while there are several contracts at issue in the action, no

individualized inquiries will be necessary. Under similar circumstances, courts in this Circuit have

regularly found the predominance requirement to be satisfied. See, e.g., Fleisher, 2013 U.S. Dist.

LEXIS 99959, at *41-*42 (“There is widespread agreement that certification under Rule 23(b)(3) is

warranted for claims that involve contracts that . . . contain the same or essentially the same

terms.”).8

        Common evidence will also be used to demonstrate that U.S. Bank breached the obligations

outlined above. As U.S. Bank’s corporate designee testified, U.S. Bank’s administration of the

Covered Trusts was conducted according to a uniform set of policies and procedures that treated all

trusts in an identical manner. See, e.g., Alvarado Decl., Ex. B at 185:16-186:18 (RMBS policies

designed to “ensure consistency related to pledged collateral, cure and repurchase activities managed

within global structured finance with the goal of providing standardization across product types,

recognition of industry practices and compliance with the governing documents”). U.S. Bank even

used form letters to communicate with deal parties and investors concerning breached Loans for all

RMBS, including the Covered Trusts. Id. at 212:23-213:7.


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        Even where multiple contracts are at issue, class treatment is nonetheless appropriate so long
as the relevant provisions are similar, thereby causing individual issues not to predominate. Wu v.
Pearson Educ., Inc., 277 F.R.D. 255, 265 (S.D.N.Y. 2011) (granting class certification when the
court was “called upon to consider contracts that [took] a number of different forms” because claims
asserted “require[d] the interpretation of a single provision that varie[d] little in its form from
contract to contract”); see also Allapattah Servs., Inc. v. Exxon Corp., 333 F.3d 1248, 1261 (11th
Cir. 2003) (holding that “[b]ecause all of the dealer agreements were materially similar” whether the
defendant breached its obligation to reduce the wholesale price of gas “was a question common to
the class and the issue of liability was appropriately determined on a class-wide basis”), aff’d, 545
U.S. 546 (2005).

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        By way of example, U.S. Bank adhered to uniform procedures regarding: (1) “setting up a

new account for which U.S. Bank will serve as a trustee” (id. at 79:12-80:4; id., Ex. D) and how

personnel “should complete the account review for each account to ensure that all applicable systems

are accurately set-up” (id., Ex. E at RPI-USB_USBDOC00013000; id., Ex. B at 105:2-15); (2)

“requirements of the governing documents for delivery and review/validation of collateral” (id., Ex.

B at 123:8-124:3; id., Ex. F); (3) the managing and monitoring of ticklers that “provide [U.S. Bank]

with reminders about certain [trustee-related] responsibilities” (id., Ex. B at 137:10-138:3; id., Ex.

G); (4) servicer risk review “necessary to create a process whereby servicer risk is assessed,

reviewed, and communicated on a regular basis” (id., Ex. B at 160:6-161:24; id., Ex. H); and (5) “the

processes by which an RMBS’s underlying mortgage loans would either be subject to cure or

repurchase activities” (id., Ex. B at 185:16-186:18; id., Ex. I).         Moreover, and to ensure

standardization, U.S. Bank communicated with Certificateholders and obligated parties regarding

R&W breaches through pre-written form letters. See, e.g., Alvarado Decl., Ex. B at 189:13-191:27,

201:5-207:5.

        To administer such policies and the Covered Trusts themselves, U.S. Bank relied on its

Global Structured Finance group (“GSF”) within its Corporate Trust Services division. Id. at 46:14-

48:2. The GSF group, which consists of account managers and account administrators working on

RMBS transactions, administered all of the trusts for which U.S. Bank served as trustee – including

all the Covered Trusts. Id. at 47:23-48:2, 59:7-61:6.9 Thus, a discrete number of account managers

and account administrators were responsible for administering U.S. Bank’s trustee duties for all of

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        Each RMBS transaction’s account administrator is “responsible for the day-to-day
administration of the deals” while its account managers “deal more with document review and
negotiation[s] and risk-type issues.” Alvarado Decl., Ex. B at 57:9-19. In other words, “[t]he
account manager or the account administrator would be the main points of contact for the
transaction.” Id. at 92:7-9.

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the Covered Trusts. See Ex. J. Accordingly, ‘“[e]ach of the Certificates purchased by the Plaintiffs

and the Class were [administered] pursuant to [the] same process by the same Defendants.’” Merrill

Lynch, 277 F.R.D. at 113. “The alleged flaws common to that process” would “be the subject of

common proof.” Id.

        Indeed, U.S. Bank’s conduct, which was subject to the common controls established by its

various policies and procedures, will predominate as to each Covered Trust. See J.P. Morgan, 301

F.R.D. at 136 (common questions predominate where “[t]he class members’ proof of liability will

principally require an examination of the [defendant’s conduct] pursuant to the same basic process”);

Merrill Lynch, 277 F.R.D. at 113 (same). Likewise, U.S. Bank’s alleged discovery that a vast

number of underlying Loans violated R&Ws made in the Governing Agreements will also be subject

to common proof. See NECA-IBEW Health & Welfare Fund v. Goldman Sachs & Co., 693 F.3d

145, 163 (2d Cir. 2012) (recognizing that class-wide evidence will be offered to prove that a given

entity abandoned its stated underwriting guidelines).

        For example, the Class will commonly seek to prove that the Loans underlying the Covered

Trusts breached the R&Ws in the Governing Agreements through loan sampling and re-

underwriting. Courts have regularly found loan sampling and re-underwriting to be an appropriate

method to answer common questions of whether loans in multiple offerings were originated in

breach of stated guidelines. See DLJ, 2014 U.S. Dist. LEXIS 35326, at *30-*31 (‘“[I]nformation . . .

to the effect that underwriting guidelines were actually followed . . . [is] largely subject to

generalized proof.’”); J.P. Morgan, 301 F.R.D. at 137 (same). Common evidence of the Covered

Trusts’ massive economic losses, widely disseminated investigative reports of origination and

servicing failures and predatory schemes at issue here will all be common to the Class – and will

collectively demonstrate that U.S. Bank knew of the myriad problems in the Covered Trusts.

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        Lastly, each Class member’s damages will be measured by a common methodology based on

U.S. Bank’s and third parties’ published data with respect to the performance of the Loans and a re-

underwriting analysis of a sample of the Loans. As set forth in plaintiff’s expert report, with respect

to R&W breaches, the impact of U.S. Bank’s alleged failure to act can be measured by analyzing the

extent to which losses in each Covered Trust were associated with Loans that breached the

Warrantor’s R&Ws. Alvarado Decl., Ex. A, ¶¶36-39, 49-58. The analysis will include an

examination of Loans within a Covered Trust to identify those that were materially and adversely

affected by the Warrantors’ R&W breaches and to determine the extent to which losses on these

Loans would have been avoided if U.S. Bank had enforced the Warrantors’ obligations to

repurchase, replace, or cure defective loans. Id. Specifically, this analysis will involve modeling

collateral cash flows assuming Warrantors had fulfilled their obligations to allow the trust to “put-

back” loans whose value was affected by R&W breaches. Id. Similar to claims related to U.S.

Bank’s alleged failure to enforce R&W provisions, the impact of the alleged servicing failures will

also involve the analysis of Loans within a Covered Trust to identify Events of Default by Master

Servicers and Servicers and to assess the extent to which these resulted in higher losses or lower

value to the collateral pool. Id. The damage calculations are capable of being performed in a

formulaic manner such that each Class member’s damages calculation is performed in the same

manner. Id., ¶58.

        Although the specific amount of each Class member’s damages may vary, this “does not

defeat certification [since] the method of calculating damages is [still] common to the class.” Lapin

v. Goldman Sachs & Co., 254 F.R.D. 168, 181 (S.D.N.Y. 2008); see also Roach v. T.L. Cannon

Corp., 778 F.3d 401, 405 (2d Cir. 2015) (upholding well-established rule in Second Circuit that “‘the

fact that damages may have to be ascertained on an individual basis is not sufficient to defeat class

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certification’ under Rule 23(b)(3)”); Dodona I, 296 F.R.D. at 271 (noting that where, as here,

plaintiff’s expert has offered a “class-wide methodology for calculation of damages, any necessary

individual inquiries are a far cry from the scope of individualized issues of proof that would defeat a

finding of predominance under Rule 23(b)(3)”). As a result, plaintiff will be able to establish U.S.

Bank’s liability and the amount of any damages through generalized proof and a class-wide,

common methodology, respectively. Thus, Rule 23(b)(3)’s predominance requirement is satisfied.10

                2.      A Class Action Is Superior

        Rule 23(b)(3) also requires plaintiff to establish “superiority,” that a class action is a better

way to proceed versus some other method. Courts have uniformly recognized that the class action

device is superior to other available methods for the fair and efficient resolution of class actions.

        To determine whether the “superiority” requirement of Rule 23(b)(3) is satisfied, the Court

must consider the following:

        (A)    the class members’ interests in individually controlling the prosecution . . . of
        separate actions;

        (B)    the extent and nature of any litigation concerning the controversy already
        begun by . . . class members;

        (C)     the desirability or undesirability of concentrating the litigation of the claims
        in the particular forum; and

        (D)     the likely difficulties in managing a class action.

See Fed. R. Civ. P. 23(b)(3). Here, each factor weighs strongly in favor of class certification.

        First, there is no overwhelming interest by Class members to proceed individually. “‘[T]he

existence of large individual claims that are sufficient for individual suits is no bar to a class,’”


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       With respect to plaintiff’s tort claim – the breach of trust claim – Royal Park seeks punitive
damages, as well as the profits U.S. Bank derived from its breach of trust/conflict of interest. Both
types of damages are readily determinable on a class-wide basis following the determination of
compensatory damages, as described herein.

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particularly where, as here, “‘the advantages of unitary adjudication exist to determine the

defendant’s liability.’” AFTRA, 269 F.R.D. at 355; accord IndyMac, 286 F.R.D. at 243; Merrill

Lynch, 277 F.R.D. at 121; In re EVCI Career Colleges Holding Corp. Sec. Litig., No. 05 Civ. 10240

(CM), 2007 U.S. Dist. LEXIS 57918, at *42 (S.D.N.Y. July 27, 2007) (noting that any class

members who “would prefer to individually control the prosecution of their claims . . . have the

opportunity to opt out or be represented by counsel of their own choice”). Moreover, and as already

discussed, the sizes of Class members’ investments vary widely, from less than $10,000 to tens of

millions of dollars. See Alvarado Decl., Ex. A, ¶48.

        Additionally, the maintenance of a class action in this District ensures an efficient

expenditure of resources, will save an enormous amount in litigation costs for all parties, and will

allow the parties to more efficiently prosecute their claims and defenses. See Indymac, 286 F.R.D. at

243; Seekamp, 2012 U.S. Dist. LEXIS 33295, at *41. Further, because the proposed Class members

are located in geographically dispersed areas (see Alvarado Decl., Ex. A, ¶48), and because a

majority of the Certificates in the Covered Trusts were issued by registrants in this District which

has overseen the majority of complex cases relating to mortgage-backed securities, the Southern

District of New York is a desirable forum for this class action.

        Finally, plaintiff does not foresee any management difficulties that will preclude this case

from being maintained as a class action. Consistent with the requirements of Rule 23(b)(3), the

certification of this case as a class action would not only be superior to other available methods for

fairly and efficiently adjudicating the controversy, it would also be the best method for fairly and

efficiently litigating the claims of all members of the proposed Class.




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        C.     The Court Should Appoint Plaintiff’s Counsel as Class Counsel Under
               Rule 23(g)

        The last requirement of Rule 23(g)(4) is that the Court must appoint counsel who will fairly

and adequately represent the Class. In appointing class counsel, Rule 23(g)(1)(A) requires the Court

to consider the following factors: “(i) the work counsel has done in identifying or investigating

potential claims in the action; (ii) counsel’s experience in handling class actions, other complex

litigation, and the types of claims asserted in the action; (iii) counsel’s knowledge of the applicable

law; and (iv) the resources that counsel will commit to representing the class.” Fed. R. Civ. P.

23(g)(1)(A); AFTRA, 269 F.R.D. at 346.

        Plaintiff is represented by Robbins Geller, whose lawyers have served as class counsel in

hundreds of securities class actions. See Alvarado Decl., Ex. K. Courts in this Circuit have

repeatedly recognized the expertise and ability of Robbins Geller lawyers to effectively litigate

complex class actions, including RMBS class actions. See, e.g., Billhofer v. Flamel Techs., S.A., 281

F.R.D. 150, 158 (S.D.N.Y. 2012) (“[C]ourts within this Circuit have repeatedly found Robbins

Geller to be adequate and well-qualified for the purposes of litigating class action lawsuits.”);

Sgalambo v. McKenzie, 268 F.R.D. 170, 174 (S.D.N.Y. 2010) (characterizing Robbins Geller as a

“highly competent plaintiffs’ firm[] with substantial securities class action experience”); J.P.

Morgan, 301 F.R.D. at 135 (noting Robbins Geller’s “experience[] in securities class action

litigation” and finding it “qualified to conduct this [RMBS] lawsuit”); NECA-IBEW Health &

Welfare Fund v. Goldman Sachs & Co., No. 1:08-cv-10783 (LAP), Transcript at 11 (S.D.N.Y. May

2, 2016) (noting in connection with final approval of precedent-setting RMBS class action that

Robbins Geller can be “proud of what you’ve done for your clients. You’ve done an extraordinarily

good job.”).



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        In addition, since engaged to conduct this litigation, Robbins Geller has demonstrated its

willingness to commit substantial time and resources to representing the proposed Class in this

action and has undertaken significant discovery to uncover the evidence needed to support the

Class’s claims. See, §III.A.4., supra. The ability of Robbins Geller to fairly and adequately

represent the interests of the Class further leads to the conclusion that the requirements of Rule

23(a)(4) and Rule 23(g) are satisfied and that plaintiff’s counsel should be appointed as Class

Counsel pursuant to Rule 23(g).

IV.     CONCLUSION

        For the foregoing reasons, Royal Park respectfully requests the Court to: (a) certify this

action as a class action pursuant to Rule 23(a) and Rule 23(b)(3); (b) appoint Royal Park as the

representative of the proposed Class; and (c) appoint Robbins Geller as Class Counsel.

DATED: December 21, 2016                     Respectfully submitted,

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                                         APPENDIX A

        1.    Banc of America Funding 2007-C Trust (“BAFC 2007-C”)

        2.    BNC Mortgage Loan Trust 2007-2 (“BNCMT 2007-2”)

        3.    Bear Stearns Asset Backed Securities I Trust 2006-AC2 (“BSABS 2006-AC2”)

        4.    Bear Stearns Asset Backed Securities I Trust 2006-AC5 (“BSABS 2006-AC5”)

        5.    GreenPoint Mortgage Funding Trust 2007-AR1 (“GPMF 2007-AR1”)

        6.    GreenPoint Mortgage Funding Trust 2007-AR2 (“GPMF 2007-AR2”)

        7.    GreenPoint Mortgage Funding Trust 2007-AR3 (“GPMF 2007-AR3”)

        8.    Home Equity Asset Trust 2006-5 (“HEAT 2006-5”)

        9.    Home Equity Asset Trust 2006-6 (“HEAT 2006-6”)

        10.   Lehman XS Trust 2006-10N (“LXS 2006-10N”)

        11.   Lehman XS Trust 2006-15 (“LXS 2006-15”)

        12.   Lehman XS Trust 2007-7N (“LXS 2007-7N”)

        13.   MASTR Asset Backed Securities Trust 2006-HE2 (“MABS 2006-HE2”)

        14.   Merrill Lynch Mortgage Investors Trust 2006-WMC2 (“MLMI 2006-WMC2”)

        15.   Structured Adjustable Rate Mortgage Loan Trust 2006-9 (“SARM 2006-9”)

      16.     Structured Asset Securities Corporation Mortgage Loan Trust 2006-NC1 (“SASC
2006-NC1”)

      17.  Structured Asset Securities Corporation Mortgage Loan Trust 2006-WF2 (“SASC
2006-WF2”)

      18.  Structured Asset Securities Corporation Mortgage Loan Trust 2006-WF3 (“SASC
2006-WF3”)

      19.     Structured Asset Securities Corporation Mortgage Loan Trust 2007-EQ1 (“SASC
2007-EQ1”)

      20.  Structured Asset Securities Corporation Mortgage Loan Trust 2007-WF1 (“SASC
2007-WF1”)

        21.   WaMu Mortgage Pass-Through Certificates Series 2007-OA2 Trust (“WAMU 2007-
OA2”

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                                   CERTIFICATE OF SERVICE

        I hereby certify that on December 21, 2016, I authorized the electronic filing of the foregoing

with the Clerk of the Court using the CM/ECF system which will send notification of such filing to

the e-mail addresses denoted on the attached Electronic Mail Notice List, and I hereby certify that I

caused to be mailed the foregoing document or paper via the United States Postal Service to the non-

CM/ECF participants indicated on the attached Manual Notice List.

        I certify under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct. Executed on December 21, 2016.

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